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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

CONSERVATION LAW FOUNDATION, INC.
Plaintiff,

Vv. CIVIL ACTION
NO. 19-11672-WGY
LONGWOOD VENUES & DESTINATIONS,
INC.; WYCHMERE HARBOR REAL ESTATE,
LLC; WYCHMERE HOLDINGS CORP.;
ATLAS INVESTMENT GROUP, LLC;
WYCHMERE SHORES CONDOMINIUM TRUST;
HARBOR CLUB MANAGEMENT, LLC; BEACH
CLUB MANAGEMENT, LLC; JEFFREY M.
FEUERMAN; BARRY J. GOLDY; and
JOSEPH F. MCKENNEY

Defendants.

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YOUNG, D.J. November 26, 2019
ORDER

This citizen suit under the Resource Conservation and
Recovery Act (“RCRA”) arises from the same set of facts as the
plaintiff’s citizen suit against the defendants under the Clean
Water Act (“CWA”). See Conservation Law Foundation, Inc. v.
Longwood Venues & Destinations, Inc., Civ. A. No. 18-11821-WGY
(“CWA Action”). There, Conservation Law Foundation (“CLF”)
brought a citizen suit under the CWA alleging that the
defendants (collectively, the “Beach Club”) -- who own or

operate the Wychmere Beach Club on Cape Cod and its adjoining
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wastewater treatment facility (“the Facility”) -- unlawfully
discharge nitrogen from twenty-two leach pits into the
groundwater that then flows into the adjacent harbor and ocean
through hydrological connections.

The CWA Action was filed on August 24, 2018, CWA Action,
ECF No. 1, and the deadline to amend was March 8, 2019, Case
Management Order 1, CWA Action, ECF No. 30. CLF sought leave to
file an amended complaint before the deadline, but the amended
complaint did not contain any claims under RCRA. Am. Compl.,
CWA Action, ECF No. 34. Without ever seeking to add RCRA claims
to its complaint in the CWA Action, CLF filed the present
complaint, alleging two violations under sections 4005(a) and
7002(a) (2) of RCRA (the “RCRA Action”), on August 2, 2019.
Compl., ECF No. 1. On September 4, 2019, the Beach Club moved
to dismiss, ECF No. 17, on the grounds that CLEF's two actions
are impermissible claim splitting and that CLF failed to state a
claim on either of its RCRA allegations. Mem. Supp. Defs.’ Mot.
Dismiss 4-19 (“Defs.’ Mem.”), ECF No. 18.

At a hearing on October 17, 2019, the Court took the claim-
splitting issue under advisement. Electronic Clerk’s Notes, ECF
No. 31. The Court added that, were the Court to conclude that
the RCRA Action ought not be dismissed on account of claim
splitting, then the Court would deny the motion to dismiss as to

count II but dismiss count I without prejudice and with leave to

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file a motion to amend. Id. The Court now so concludes.
The First Circuit has explained that “the doctrine against
splitting claims . ..is .. . one application of the general

doctrine of res judicata.” Sutcliffe Storage & Warehouse Co. v.

 

United States, 162 F.2d 849, 852 (lst Cir. 1947). That
description, however, may be “some exaggeration” in that the
claim-splitting doctrine is generally seen as “a matter of

docket management.” 18 Charles Alan Wright & Arthur R. Miller,

 

Federal Practice and Procedure § 4406 (3d ed. 1998); Katz v.
Gerardi, 655 F.3d 1212, 1218 (10th Cir. 2011). “A later-filed
action is generally found duplicative of an earlier-filed suit
if the claims, parties, and available relief do not
significantly differ between the two actions.” Montoyo-Rivera

v. Pall Life Scis. PR, LLC, 245 F. Supp. 3d 337, 342 (D.P.R.

 

2017)) (citations and internal quotation marks omitted); see

also Elliott-Lewis v. Abbott Labs., 378 F. Supp. 3d 67, 70 (D.

 

Mass. 2019) (Saris, C.J.) (“A second lawsuit is impermissibly
duplicative where it would be precluded by a final judgment in
the first lawsuit.”). Because the claim-splitting doctrine
derives from courts’ general power to administer their dockets,
“[c]lourts have broad discretion in deciding how to respond to
such claim-splitting.” Id. (citing Connectu LLC v. Zuckerberg,
522 F.3d 82, 89 n.5 (1st Cir. 2008)). Aware of the “complex

problems that can arise from multiple federal filings,” the

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Court ought take “extenuating circumstances” into account and
“consider the equities of the situation when exercising its
discretion.” ConnectU LLC, 522 F.3d at 89 n.5 (quoting Curtis
v. Citibank, N.A., 226 F.3d 133, 138 (2d Cir. 2000)).

CLF argues that it has not impermissibly split its claims
for three reasons: (1) CLF was led astray by the Court’s order
refusing to stay the case, ECF No. 58; (2) that the RCRA claims
did not accrue until after the amendment complaint was filed
because of the CWA’s 90-day post-notice requirement; and (3)
CLF’s separate claims RCRA and CWA “implicate different rights
and interests.” CLF’s Mem. L. Opp’n Defs.’ Mot. Dismiss (“Pl.’s
Opp’n”) 7-8.

The Court rejects CLF’s first argument. CLF oddly asserts
that it “understood the Court’s Motion to Stay Order as
requiring the RCRA claims to be brought in a separate action.”
Id. 7. The Court stated no such thing, nor could CLF have
reasonably interpreted the Court’s Order as so requiring. The
Court simply refused to stay the case and kept “all time limits
in full force and effect.” Electronic Order, ECF No. 58.
Nothing in that Order prohibited CLF from filing a motion for
leave to amend the complaint when the RCRA claims later became
available. Nor did the Court’s Order implicitly command CLF to

file a separate action based on identical facts solely because

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CLF declared its intention to add RCRA claims. CLF could not
reasonably so construe the Order.

CLF’s second argument, however, is availing. The mandatory
90-day waiting period after CLF provided notice, 42 U.S.C.
§ 6972 (b) (2) (A), means that the Court would not have had
jurisdiction over CLF’s RCRA claims until after the time to

amend had expired in the CWA Action. In Barrett ex rel. Estate

 

of Barrett v. United States, a plaintiff filed a claim under the
Federal Tort Claims Act (FTCA) before the statutory six-month
waiting period had expired because the statute of limitations on
her Bivens action was set to run out before the end of six
months. 462 F.3d 28, 37-38 (lst Cir. 2006). The First Circuit
held that the plaintiff had to wait the six months required by
the FTCA, and her remedy to prevent losing her Bivens claim was
“to file separate claims, which would not [have] be[en] barred
by the rule against claim-splitting.” Id. (citing Torromeo v.
Town of Fremont, 438 F.3d 113, 117 (lst Cir. 2006) and
Restatement (Second) of Judgments § 26(1) (c)).

If the plaintiff in Barrett could have permissibly filed
her Bivens and FTCA claims separately to stay within the Bivens
limitations period, then CLF may split its CWA and RCRA claims
to accommodate RCRA’s 90-day freeze. Of course, there is little
reason why CLF could not have brought the RCRA claims together

with its CWA claims from the outset. The 90-day delay was a

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self-inflicted injury, since nothing prevented CLF from sending
its RCRA notice more promptly. The bald truth is that CLF
simply did not get its act together in time. Yet the same could
be said for the plaintiff in Barrett. The First Circuit
nonetheless instructed her to file her FTCA claim in a separate
action on account of the mismatch between the two statutory
deadlines. While the Court would still have preferred for CLF
to move to amend its complaint in the CWA Action before filing
separate RCRA claims, the Court cannot say that CLF
impermissibly split its claims.

Furthermore, even were these claims wrongly split, the
Court would conclude that the equities weigh against dismissal
on these grounds since there was no prejudice to the Beach Club
and CLF is here a “private attorney[] general standing the in
government’s shoes” to enforce a public interest. Riggs v.
Curran, 863 F.3d 6, 11 (1st Cir. 2017).

In accordance with the Court’s oral ruling, ECF No. 31, the
Court DENIES the motion to dismiss, ECF No. 17, as to count II
since the complaint adequately states a claim under RCRA for
“contributing to . . . disposal of any solid or hazardous waste
which may present an imminent and substantial endangerment to
health or the environment.” 42 U.S.C. § 6972(a) (1) (B); see id.
§ 6903(27) (defining “solid waste” as “any garbage, refuse,

sludge from a waste treatment plant, ... and other discarded

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material”) (emphasis added). Yet the Court ALLOWS the motion to
dismiss as to count I, the “open dumping” claim, 42 U.S.C. §
6945(a), albeit without prejudice and with leave granted to CLF
to file a motion to amend in order adequately to predicate its
claim with reference to the criteria promulgated under 42 U.S.C.
§§ 6944, 6907(a) (3). See id. § 6903(14) (defining “open dump”
as “any facility or site where solid waste is disposed of which
is not a sanitary landfill which meets the criteria promulgated
under section 6944 of this title and which is not a facility for

disposal of hazardous waste”).

SO ORDERED.

 
     

WILLIAM G.
DISTRICT JUDGE

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